              Case 2:21-cv-00031-BJR Document 29 Filed 01/15/21 Page 1 of 5




 1                                                              The Honorable Barbara J. Rothstein
 2

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14                      IN THE UNITED STATES DISTRICT COURT
15
                      FOR THE WESTERN DISTRICT OF WASHINGTON
                                     AT SEATTLE
16

17    PARLER LLC,
18                                                            No. 2:21-cv-00031-BJR
                                  Plaintiff,
19
                     v.                                       PLAINTIFF PARLER LLC’S
20                                                            MOTION TO SEAL
21    AMAZON WEB SERVICES, INC.,
                                                             [WITHOUT ORAL ARGUMENT]
22

23                                 Defendant
24

25
            Pursuant to Local Civil Rule 5(g), Plaintiff Parler LLC (“Parler”) moves to seal
26

27   limited portions of five filed exhibits, and one declaration from Parler CEO John Matze, Jr.
28
     supporting Parler’s Reply to Defendant’s Response to Parler’s Motion for Temporary
29
     Restraining Order. Parler seeks to redact from the exhibits the names and identifying
30

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 1   information of employees of both Parler and Defendant Amazon Web Services, Inc. (“AWS”
 2
     or “Amazon”).
 3
              The Defendant’s own Motion to Seal sets out “compelling” reasons why redaction is
 4

 5   “necessary to protect [AWS employees’] safety and security and to prevent potential
 6
     harassment.” AWS Motion (Dkt. No. 15) at 2.
 7

 8            These reasons also apply to the Plaintiff’s employees. As with AWS, Parler’s

 9   company and employees have developed well-founded concerns for their safety and well-
10
     being as many of them have been harassed and threatened in the aftermath of both AWS’s
11

12   highly publicized rejection of Parler from its online hosting services and the instant lawsuit
13
     which followed. The open hostility directed at employees on both sides of this highly divisive
14

15
     dispute justifies an order protecting all such employees, other than those who choose to

16   identify themselves, from the potential harassment, threats, and even potential danger that
17
     may result if their identifying information were to become public. 1
18

19            Unredacted copies of the five exhibits and one declaration have therefore been filed
20
     under seal.
21
                                                         FACTS
22

23            As described in much greater detail in the pleadings, this suit arose from AWS’s
24
     decision, late last week, to abruptly terminate its AWS Customer Agreement by which it had
25

26

27
     1  Pursuant to LCR 5(g)(3)(A), undersigned counsel certifies that on January 11 and 12, 2021, Parler’s counsel,
28   David Groesbeck, conferred by telephone with AWS’s counsel, Ms. Ambika Doran, to attempt to reach agreement
     on this motion as well as Defendant’s own motion to seal, which was granted by this Court on January 14, 2021.
29   (Dkt. No. 15). Counsel did not reach a definitive agreement, but agreed in principle to redact information relating
     to employees of both Plaintiff and Defendant.
30

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 1   contracted to provide online hosting services to Parler. Plaintiff’s Verified Complaint
 2
     (“Complaint”) (Dkt. No. 1) ¶ 3. This decision was highly publicized, not only because it
 3
     occurred in the wake of the Capitol Hill riot, but also because AWS both blamed the rift on
 4

 5   supposed failures in Parler’s already controversial content moderation policies, and aired the
 6
     dispute in the court of public opinion by leaking its termination message to the media. Id. at ¶¶
 7

 8   21, 28-29. As AWS recognizes in its own motion to seal, the social turmoil swirling around

 9   this dispute has sometimes been acute and troubling.
10
            Although AWS’s motion to seal focuses only on its own employees, Parler’s
11

12   employees have been similarly harassed and threatened. Parler’s CEO, John Matze, Jr.,
13
     reports in his declaration in support of Parler’s TRO motion that many Parler employees are
14

15
     suffering harassment and hostility, fear for their safety and that of their families, and in some

16   cases have fled their home state to escape persecution. Matze Decl. ¶ 19. Matze himself, as
17
     the CEO of the company AWS continues to vilify, has had to leave his home and go into
18

19   hiding with his family after receiving death threats and invasive personal security breaches.
20
     Id.
21
            Recognizing the highly charged nature of this public and polarizing dispute, Parler
22

23   wishes to protect the privacy of those employees, whether of Parler or Amazon, whose names
24
     or personal information appear in documents on which Parler relies. Specifically, Parler seeks
25

26
     to place under seal:

27              •   Declaration of John Matze, Jr., mentioning both an AWS employee and a
28                  Parler employee by name, and indicating his geographical location in the
                    declaration’s signature block
29

30

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 1              •   Exhibit A: 12/16/2020 email from an Amazon employee to Parler
 2
                •   Exhibit D: screenshot of a tweet from Ashli Babbitt’s account
 3
                •   Exhibit E: 9/3/2020 email from an Amazon employee to Matze
 4

 5              •   Exhibit F: text messages between Matze and an Amazon employee
 6
                •   Exhibit G: 1/6/2021 email between Amy Peikoff, Parler’s Chief Policy Officer,
 7                  and another Parler employee
 8
            Like most evidence, this declaration and these exhibits help to apportion responsibility
 9
     and culpability in this litigation, and hence may pose a danger to those individuals whose
10

11   personal information would otherwise be readily available in public filings in what is already
12
     highly publicized and divisive lawsuit. Parler therefore seeks to protect these individuals from
13

14
     unwanted and potentially dangerous harassment.

15                                           ARGUMENT
16
            Because the public interest in disclosure and access to court records is not absolute,
17

18   “sufficiently compelling reasons” may override that interest. Foltz v. State Farm Mut. Auto.
19
     Ins. Co., 331 F.3d 1122, 1135 (9th Cir. 2003). Although the trial court has discretion to
20
     determine compelling reasons, Nixon v. Warner, 435 U.S. 589, 598 (1978), protecting the
21

22   safety and well-being of a person whose information might otherwise be disclosed has
23
     frequently been recognized as a reason sufficiently compelling as to override the presumption
24

25   for disclosure. See, e.g., United States v. Harris, 890 F.3d 480, 491-92 (4th Cir. 2018)
26   (recognizing as a compelling reason the protection of the physical and psychological well-
27
     being of individuals involved in the litigation); Flynt v. Lombardi, 885 F.3d 508, 511-12 (8th
28

29

30

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 1   Cir. 2018) (finding compelling reasons to protect individuals’ identities to prevent threats to
 2
     personal safety and harassment).
 3
               Both sides of this dispute have shown that their employees have suffered real
 4

 5   harassment and threats—including, on both sides, death threats—owing to the charged nature
 6
     of this litigation. Parler therefore agrees with AWS that safety and security concerns justify
 7

 8   the limited sealings requested here. As AWS has already argued in its own motion, the

 9   public’s interest in the judicial process will not be harmed by protecting the identifying
10
     information of company employees from being widely disseminated, especially because, aside
11

12   from such information, the content of all the proffered exhibits and declarations remains
13
     intact.
14

15
                                              CONCLUSION

16             For the foregoing reasons, the Court should seal that identifying information that has
17
     been redacted in the exhibits and declaration listed above. Parler’s Motion to Seal should be
18

19   granted.
20
               Dated: January 15, 2021.
21
                                            Respectfully submitted,
22

23
                                            /s David J. Groesbeck
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